        Case 1:23-cv-01334-CRC           Document 33          Filed 11/28/23     Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    THE HON. PAULINE NEWMAN,

                                                Plaintiff,
                v.                                                       NO. 1:23-CV-01334-CRC

    THE HON. KIMBERLY A. MOORE, ET AL.

                                                Defendants.




                PLAINTIFF’S CONSENT MOTION FOR LEAVE TO FILE
                SUR-REPLY TO DEFENDANTS’ REPLY MEMORANDUM
                    IN SUPPORT OF THEIR MOTION TO DISMISS

        Plaintiff the Honorable Pauline Newman moves for leave to file a sur-reply of no more than

four pages in response to Defendants’ Reply Memorandum in Support of Their Motion to Dismiss,

and agrees that Defendants be permitted to file a reply, of equal length, to Judge Newman’s sur-reply.

        Judge Newman seeks to file a sur-reply only to address the Order that Defendant Judicial

Council of the Federal Circuit issued on November 9, 2023, after Judge Newman had filed her

Response to Defendants’ Motion to Dismiss (ECF 30, filed Oct. 25, 2023). The November 9, 2023

order stated that it vacated an earlier order dated June 5, 2023. Defendants then relied on the

November 9, 2023 Order in their Reply Memorandum In Support Of Their Motion To Dismiss,

which they filed on November 17, 2023 (ECF 32). Judge Newman should be granted leave to file a

sur-reply because otherwise she “would be unable to contest [a] matter[] presented to the court for

the first time in the opposing party's reply.” Lewis v. Rumsfeld, 154 F.Supp.2d 56, 61 (D.D.C.2001)

(stating the standard for filing a sur-reply). 1 Plaintiff conferred with counsel for Defendants, who


1
 Plaintiff notes that in their Reply Defendants changed their argument regarding the effect of Judicial
Council’s September 20, 2023 Order on its June 5, 2023 Order. Compare ECF 25 at 37 (arguing that
Judicial Council’s adoption of Special Committee’s Report and Recommendation “may supersede the
        Case 1:23-cv-01334-CRC              Document 33          Filed 11/28/23      Page 2 of 2



indicated that Defendants consent to this motion on the agreed condition that they be permitted to

file a brief in response, no later than one week after Plaintiff’s filing.

        A proposed order accompanies this motion.



                                                         Respectfully submitted,

                                                         /s/Gregory Dolin
                                                         Gregory Dolin, MD
                                                         Senior Litigation Counsel

                                                         /s/John J. Vecchione
                                                         John J. Vecchione
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                                                         Counsel for Plaintiff




June 5 Order”), with ECF 30 at 4, n.3 (stating that “[t]he parties agree that the June 5 Order—issued
under the Judicial Council’s § 332 authority—was not mooted by the Judicial Council’s September 20
Order….”). Instead, Defendants now base their mootness argument on the November 9, 2023 Order.
It is this new argument that Plaintiff wishes to address in her sur-reply. Defendants will limit their
reply to the arguments presented in Plaintiff’s sur-reply.
